
710 S.E.2d 42 (2011)
STATE of North Carolina.
v.
Alexander Robert BROWN.
No. 71P11.
Supreme Court of North Carolina.
June 15, 2011.
Bruce T. Cunningham, Jr., Southern Pines, for Brown, Alexander Robert.
Charles E. Reece, Assistant Attorney General, for State of North Carolina.
C. Colon Willoughby, Jr., District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 22nd of February 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and *43 is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 15th of June 2011."
